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12/23/2021

CENTRAL DISTRICT OF CALIFORNIA
BY: he DEPUTY

   

Case 5:21-cv-00815-SVW-GJS Document 29 Filed 12/23/21 Page 1of5 |P

 

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

 

 

 

 

UNITED STATES DISTRICT COURT

for the
DoWN DAVIS GILMAN
Plaintiff ) '
RIVERS DS COUNTY SHER\EES DEPT Civil Action No. 5.7\-C V-00815-SVW-GSS
SON DOE(Z) SORN DEC) i»
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

** RNERSIDE COUNTY SUEREES DePt, /COIS-BYRD DETENTION CENTER

(Name of person to whom this subpoena is directed)

Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:

Place: CO\S BYRD DETENTION CENTER /E-PoD ‘Date and Time: OCTOBER 147 2020
IN GETWEEN 800PmM/4%: EM
THE NIGHT SHIFT

O Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: CO\S BYRD DETENTION CENTER 7 E-POD | Date and Time: OCTOBER 14TH 2020
/ DUK BETWEEN "BOORN / 4.50 om
THE NIGHT Si\Ft

 

The following provisions of Fed, R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to 2 subpoena; and Rule 45(e) and (g). relating to vour duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

CLERK OF COURT
OR

Signature of Clerk or Deputy Clerk Attorney's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
, who issues or requests this subpoena, are:

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before

it is served on the person to whom it is directed. Fed, R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

on (date)

on (date) > or

Oj I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc.:
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ase 5:21-cv-00815-SVW-GJS Document 29 Filed 12/23/21 Page 3of5 Page ID #:162

 

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DISTRICTS Form FoR A RULE 45 SUBPOENA DUCES TECLUM.

 

(Form AO-838) To o@TA\N THE NEEDED INFOEM.TION,

 

THE PLAINT\PE 1S RESPEC TEUUN REQUESTING FoR A SQQPOEND

 

TO BE CERIED Yeon THE COIS-GYRD DETENTION CENTER’

 

o@ TE RELENANT ENTVIN. SO VTE CLAINTIFE CAN FILE

 

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IDENTIFIES THE INDIVIDUAL RIVERSIDE COUNTY SYERIEES

 

DEPARTMENT OFFICERS BY Tne FULL NAMES AND STATE

 

A clAImM AGAINGYT EACK NAMES DEFENDANT

 

 

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A \OG FROM TWE DASE OF OCTOBER \O** 2020

 

PROVIDING TRE(FULL NAMES AND TDENTIDY) GF DEFENDANTS

 

SOVN DOE. (2) DEPUTY BonwER Rt F AND

 

DOWN DOE (3) DEPUTX RUNNER #2 %

 

BOTH ARE COIS-AYRD DETENTION CENKER SUERIFES

 

DEPUTY WO WERE AT THE TIME OF INCIDENT

 

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CASE NOI5i2\-cv- 00615-SVW(Gs5) |

 

DATED: DECEMBER 6, 202\

 

RESPECTEULLY SUBMITTED, XS GU

 

“ WS

 

TOWN DAVIS GILLMAN

 

COCR PPIABZ

 

Po BOA S456 ASU-G-\1@S)>

 

CORCORAN, CAs YBZN2~ BAGG

 

 

 

 

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TWANKNou € GOD BLESS

 

 

 

 

 

 

 
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